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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

   BYTEMARK, INC.,                              §
                                                §
                  Plaintiff,                    §
                                                §
   v.                                           §     Case No. 2:16-CV-00543-JRG-RSP
                                                §
   MASABI LTD.,                                 §
                                                §
                  Defendant.                    §

                                             JUDGMENT

          Before the Court is the Report & Recommendation [Dkt. No. 146] by Magistrate

   Judge Payne, which recommends that Defendant Masabi Ltd.’s Motion for Summary Judgment

   of Invalidity of U.S. Patent Nos. 8,494,967 and 9,239,993 [Dkt. No. 113] be granted under 35
       .
   U.S.C. § 101 and denied as moot as to Defendant’s contentions of invalidity on other grounds.

   Having reviewed the matter de novo the Court concludes that Plaintiff’s objections lack merit

   and Magistrate Judge Payne’s Report & Recommendation is correct. Accordingly,

          IT IS ORDERED AND ADJUDGED that Masabi Ltd.’s Motion for Summary

   Judgment of Invalidity of U.S. Patent Nos. 8,494,967 and 9,239,993 [Dkt. No. 113] is

   GRANTED under 35 U.S.C. § 101 and this action is DISMISSED WITH PREJUDICE.
          SIGNED this 19th day of December, 2011.
         So ORDERED and SIGNED this 7th day of February, 2019.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE
